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2    428 J Street, 3rd Floor
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3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     MAURICIO PORTILLO
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       ) No. CR-S 11-0096 JAM
                                     )
12                  Plaintiff,       )
                                     ) JOINT REQUEST AND ORDER FOR PRE-
13        v.                         ) PLEA REPORT
                                     )
14   MAURICIO PORTILLO,              )
                    Defendant.       )
15                                   )
     _______________________________ )
16                                   )
17          Assistant United States Attorney, Paul Hemesath and Counsel for
18   Defendant Mauricio Portillo, jointly stipulate and request the Court
19   order the United States Probation Department to draft a pre-plea report
20   for the sole purpose of calculating Mr. Portillo’s criminal history.    A
21   pre-plea report is necessary to assist the parties in reaching a plea
22   agreement.
23
24        IT IS SO STIPULATED.
25
26   Dated: April 1, 2013                    /S/ Dina L. Santos
                                            DINA L. SANTOS
27                                          Attorney for
                                            MAURICIO PORTILLO
28
            Case 2:11-cr-00096-DC Document 163 Filed 04/02/13 Page 2 of 2


1
2
3    Dated: April 1, 2013                     /S/ Paul Hemesath
                                             PAUL HEMESATH
4                                            Assistant United States Attorney
                                             Attorney for Plaintiff
5
6
7
                                        O R D E R
8
           IT IS SO ORDERED.
9
                       By the Court,
10
11
     Dated: April 1, 2013                    /s/ John A. Mendez
12                                           Hon. John A. Mendez
                                             United States District Court Judge
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     Stipulation and Order                   2
